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                              UNITED STATES DISTRICT COURT FOR THE
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9                                NORTHERN DISTRICT OF CALIFORNIA

10   EDJX, INC., a Delaware corporation,                Case No.: 3:21-cv-02398
11                  Plaintiff,
12
     vs.                                                PLAINTIFF’S NOTICE OF DISMISSAL
                                                        PURSUANT TO FEDERAL RULES OF
13                                                      CIVIL PROCEDURE 41(A)(1)(A)(I)
     6X7 NETWORKS, LLC. a California limited
14   liability company; BENJAMIN P.D. CANNON,
     an individual; DOES 1-10,
15
                    Defendants
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     NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)
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     Pursuant to F.R.C.P. 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the plaintiff EDJX,

20   Inc. and or their counsel, hereby give notice that the above- captioned action is voluntarily

21   dismissed, without prejudice against the defendant(s) 6x7 Networks, LLC and Benjamin P.D.
22
     Cannon.
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     Dated: June 15, 2023
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26                                                     Andrew G. Watters, Esq.
                                                       Attorney for Plaintiff EDJX, Inc.
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                                             3:21-cv-02398
           PLAINTIFF’S NOTICE OF DISMISSAL PURSUANT TO FEDERAL RULES OF CIVIL PROCEDURE
                                             41(A)(1)(A)(I)
